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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                                    Case: 2:23-cr-20451
 United States of America,          Judge: Grey, Jonathan J.C.
                                    MJ: Altman, Kimberly G.
 v.                                 Filed: 08-02-2023
 Tyler N. Ross,                                Violation:
                                               18 U.S.C. § 371
      Defendant.
 ________________________________/

                                  INFORMATION

      The United States Department of Justice, Criminal Division, Fraud Section,

and the United States Attorney’s Office for the Eastern District of Michigan

charge:

                                    COUNT ONE

18 U.S.C. § 371 - Conspiracy to Commit an Offense Against the United States

                                   TYLER N. ROSS

               From at least in or around 2015, through at least in or around 2019, in

the Eastern District of Michigan, and elsewhere, defendant, TYLER N. ROSS,

knowingly and intentionally conspired and agreed with other individuals to commit

an offense against the United States, that is, a violation of Title 18, United States

Code, Section 1014, by knowingly making a false statement to a mortgage lending

business for the purpose of influencing the action of that business in connection

with a loan.

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                                General Allegations

At times relevant to this Information:

      2.      ROSS served as a manager and Co-Chief Executive Officer (“CEO”)

at ROCO Real Estate LLC and ROCO Management LLC (collectively “ROCO”),

which were limited liability corporations with their principal places of business in

Bloomfield Hills, Michigan, and were incorporated in or around June 2011 and

November 2015, respectively. ROCO operated as a commercial real estate

investment firm engaged in the business of purchasing, managing, and selling

multi-family residential properties, such as apartment complexes, located in the

Eastern District of Michigan and elsewhere (collectively the “ROCO Properties”),

for itself and its private investors who invested in specific ROCO Properties.

ROSS was also an investor in ROCO Properties. ROSS exercised ultimate control

over the operations of ROCO and was involved in the company’s daily operations.

                                     Overt Acts

              ROSS and other co-conspirators committed the following overt acts,

among others, in the Eastern District of Michigan and elsewhere, in furtherance of

the conspiracy and to effect its objects:

           a. On or about March 13, 2017, ROSS emailed false financial statements

              to a mortgage lending business for the purpose of influencing the

              action of that business in connection with the issuance of mortgage

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          loans to ROCO. Those documents, which ROSS knew to be false,

          overstated the Net Operating Income (“NOI”) for several ROCO

          Properties, including Atwood Oaks, The Lakes at Ridgeway, and

          University Courtyard. The mortgage provider of these loans was a

          financial institution as that term was defined in Title 18, United States

          Code, Section 20.

       b. On or about August 20, 2017, a co-conspirator of ROSS, who was an

          executive at ROCO, emailed ROSS with financial performance

          information for certain ROCO Properties and provided trailing

          twelve-month financial operating statements (“T12s”) that “could be

          submitted as is.”

       c. On or about August 20, 2017, that same co-conspirator emailed ROSS

          again with financial performance information for other ROCO

          Properties, which were underperforming, and noted that data

          “need[ed] to be reviewed prior to submitting.” Among the

          underperforming properties were Atwood Oaks and University

          Courtyard. ROSS’s co-conspirator included T12 financial operating

          statements for the underperforming properties and indicated to ROSS

          that “[w]ithin each of the Operating Statements is now a TAB called

          ‘adjustments’ specifically for reviewing/adjusting. . . .” In the email to

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          ROSS, ROSS’s co-conspirator noted that another tab on the operating

          statements reflected the Debt Service Coverage Ratio (“DSCR”) for

          the relevant property and that the figure would “update each time you

          enter something within the Adjustments TAB.” ROSS’s co-

          conspirator asked ROSS to “[p]lease send me back the review/updated

          copies and I will get these prepared for submission along with the

          others.”

       d. On or about August 21, 2017, ROSS emailed that same co-conspirator

          revised and falsified T12s for several underperforming ROCO

          Properties, including Atwood Oaks and University Courtyard.

       e. On or about August 21, 2017, that same co-conspirator emailed false

          T12 financial statements to a mortgage lending business for the

          purpose of influencing the action of that business in connection with

          mortgage loans that had been issued to ROCO. Those T12 documents

          falsely overstated the NOI for several ROCO Properties and included

          the false T12s for Atwood Oaks and University Courtyard that ROSS

          had sent to the co-conspirator.

       f. On or about May 17, 2018, at ROSS’s direction, ROSS’s co-

          conspirator emailed a false T12 financial statement to another

          mortgage lending business for the purpose of influencing the action of

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          that business in connection with a mortgage loan that had been issued

          to ROCO. That T12 document falsely overstated the NOI for

          Barrington Park, a ROCO Property. The mortgage provider of this

          loan was a financial institution as that term was defined in Title 18,

          United States Code, Section 20.

       g. On or about February 22, 2019, at ROSS’s direction, ROSS’s co-

          conspirator emailed false T12 financial statements to a mortgage

          lending business for the purpose of influencing the action of that

          business in connection with a mortgage loan that had been issued to

          ROCO. Those T12 documents falsely overstated the NOI for several

          ROCO Properties, including Atwood Oaks, The Lakes at Ridgeway,

          and University Courtyard. The mortgage provider of this loan was a

          financial institution as that term was defined in Title 18, United States

          Code, Section 20.




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      All in violation of Title 18, United States Code, Section 371.


UNITED STATES OF AMERICA

DAWN N. ISON                                 GLENN S. LEON
United States Attorney                       Chief, Fraud Section
                                             Criminal Division
                                             United States Department of Justice

By:

s/John K. Neal                               s/Avi M. Perry
JOHN K. NEAL                                 AVI M. PERRY
Chief, White Collar Crime Unit               Chief, Market Integrity and Major
                                             Frauds Unit


s/Andrew J. Yahkind                          s/Andrew R. Tyler
ANDREW J. YAHKIND                            ANDREW R. TYLER
Assistant United States Attorney             Trial Attorney

                                             s/Philip B. Trout
                                             PHILIP B. TROUT
                                             Trial Attorney

Dated: August 2, 2023




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                (Companion Case information MUST be completed by AUSA and initialed.)

  United States District Court                          Criminal Case Cover Sheet                             Case Number
  Eastern District of Michigan

 NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.



                                                                                         Companion Case Number:
  Companion Case Information
  This may be a companion case based upon LCrR 57.10 (b)(4)1:                            Judge Assigned:

                            Yes                  No                                      AUSA’s Initials: A.J.Y

          Case Title: USA v. Tyler N. Ross

          County where offense occurred : Oakland and elsewhere

          Check One:                     Felony                                  Misdemeanor                                  Petty

                           Indictment/ ‫ ݲ‬Information --- no prior complaint.
                           Indictment/   Information --- based upon prior complaint [Case number:                                                 ]
                           Indictment/   Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

 Superseding Case Information

 Superseding to Case No:                                                                         Judge:


                    Corrects errors; no additional charges or defendants.
                    Involves, for plea purposes, different charges or adds counts.
                    Embraces same subject matter but adds the additional defendants or charges below:

                     Defendant name                                              Charges                        Prior Complaint (if applicable)




 Please take notice that the below listed Assistant United States Attorney is the attorney of record for
 the above captioned case.

           August 2, 2023                                               s/Andrew J. Yahkind
                     Date                                               Andrew J. Yahkind
                                                                        Assistant United States Attorney
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                                                                        Detroit, MI 48226-3277
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 1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.
                                                                                                                                             5/16
